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                           UNITED STATE BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

 In re:                                        )
                                               )
 SKYFUEL, INC.,                                )      Case No. 19-12400-JGR
                                               )      Chapter 11
                Debtor.                        )

      NOTICE OF MOTION OF DEBTOR’S MOTION TO APPROVE RETAINER TO
                 AKERMAN LLP, COUNSEL FOR THE DEBTOR

                      OBJECTION DEADLINE: SEPTEMBER 27, 2019

       NOTICE IS HEREBY GIVEN that SkyFuel, Inc., debtor and debtor-in-possession
 (“SkyFuel” or “Debtor”) in the above-referenced case (“Case”), filed a Motion [ECF No. 112] (the
 “Motion”) to Approve Retainer to Akerman LLP, Counsel for the Debtor (“Akerman”) with the
 Bankruptcy Court and requests the following relief:

          As more fully detailed in the Motion, the Debtor requests entry of an Order approving
 payment of a retainer to Akerman in the amount of $25,000, and approval to apply the retainer to
 its fees and expenses, but only after such fees and expenses have been approved and authorized by
 this Court as required by 11 U.S.C. §§ 330 and 331, or as may be allowed by an interim
 compensation order.

         If you oppose the Motion or object to the requested relief, your objection and request for
 hearing must be filed on or before the objection deadline stated above, served on the Movant at
 the addresses indicated below, and must state clearly all objections and any legal basis for the
 objections. The Court will not consider general objections.

         In the absence of a timely, substantiated objection and request for hearing by an interested
 party, the Court may approve or grant the requested relief without any further notice to creditors
 or other interested parties.

 DATED this 6th day of September, 2019.        AKERMAN LLP

                                                 /s/ Amy M. Leitch
                                               David W. Parham, SBN: 15459500
                                               2001 Ross Avenue, Suite 3600
                                               Dallas, TX 75201
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                                               and




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                                   COUNSEL FOR DEBTOR AND
                                   DEBTOR-IN-POSSESSION




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